Form improperAP

                                   UNITED STATES BANKRUPTCY COURT
                                         Eastern District of Michigan

211 West Fort Street
Detroit, MI 48226


In Re: Rodney LaMarre Price
Debtor
                                                            Case No.: 19−52248−mar
                                                            Chapter 7
                                                            Judge: Mark A. Randon
First Independence Bank
Plaintiff                                                   Adv. Proc. No. 19−04517−mar

v.

Rodney LaMarre Price
Defendant



 ORDER REGARDING IMPROPER SERVICE OF SUMMONS AND COMPLAINT ON DEFENDANT(S)



The Plaintiff filed a complaint in the above captioned case on 12/2/19 . This Court is advised that the proof of service
of the summons and complaint is deficient for the following reasons(s):



     Proof of service of the summons and complaint has not been filed. (F.R.Bank.P. 7004(a) and F.R.CivP 4(1))

     The defendant is the debtor. Service was not made on the debtor. (F.R.Bank.P. 7004(b)(9))

    The defendant is the debtor. Service was not made on the attorney representing the debtor in the bankruptcy case.
(F.R.Bank.P. 7004(g)). A paper copy of the Summons and Complaint must be served on Defendant and the attorney
representing the debtor in the bankruptcy case. (ECF Procedure 12(b)(2)) .

     The defendant is a domestic/foreign corporation, partnership or unincorporated association. Service was not made
on a named and identified officer, managing or general agent or any other agent authorized by appointment or by law
to receive service of process. (F.R.Bank.P. 7004(b)(3))

    The defendant is the United States. Service was not made on the United States at the office of the United States
attorney for the district and to the Attorney General of the United States at Washington, D.C. (F.R.Bank.P.
7004(b)(4))

    The defendant is an officer or agency of the United States. Service was not made on the officer or agency of the
United States, at the office of the United States attorney for the district and to the Attorney General of the United
States at Washington, D.C. (F.R.Bank.P. 7004(b)(5))

     Service was not made within 7 days after the summons was issued. (F.R.Bank.P. 7004(e))

    The defendant is an Insured Depository Institution. Service was not made by certified mail on a named and
identified officer of the institution. (F.R.Bank.P. 7004(h))

     Other
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IT IS ORDERED THAT the plaintiff correct the deficiency in the proof of service within seven (7) days from the
date of this order. If a summons was not timely delivered or mailed, another summons shall be obtained and
re−issued. If the correction requires the summons and complaint to be served again, another summons shall be
obtained and re−issued.

IT IS FURTHUR ORDERED THAT if the plaintiff fails to timely correct the deficiency, this proceeding may be
dismissed without a hearing.



Dated: 12/16/19

                                                        BY THE COURT

                                                        /s/ Mark A. Randon
                                                        Mark A. Randon
                                                        United States Bankruptcy Judge




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